     Case 3:17-cv-00198-LAB-WVG Document 91 Filed 11/19/18 PageID.2479 Page 1 of 1



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                          UNITED STATES DISTRICT COURT
9
                         SOUTHERN DISTRICT OF CALIFORNIA
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11    TIFFANY DEHEN, an individual on              CASE NO. 17cv198-LAB (WCG)
      behalf of herself,
12                                                 ORDER GRANTING MOTION TO
                                     Plaintiff,
                                                   DISMISS [Dkt. 90]
13
                        vs.
14
      JOHN DOES 1-100, TWITTER, INC.,
15    UNIVERSITY OF SAN DIEGO, AND
      PERKINS COIE LLP,
16
                                 Defendants.
17
18          Plaintiff Tiffany Dehen has moved to dismiss without prejudice her claims against
19    John Does 1-100, the only remaining defendants in this litigation. Dkt. 90. That motion
20    is GRANTED and her claims against John Does 1-100 are DISMISSED WITHOUT
21    PREJUDICE. The clerk is directed to close the case.
22          IT IS SO ORDERED.
23    Dated: November 19, 2018
24                                                 HONORABLE LARRY ALAN BURNS
                                                   United States District Judge
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